Case 1:21-cv-00529-LDH-MMH Document 26 Filed 07/21/21 Page 1 of 1 PageID #: 203




                                      July 21, 2021

 VIA ECF

 The Honorable Marcia M. Henry
 United States Magistrate Judge
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:     SEC v. Krstic, et al., 21 Civ. 0529 (LDH) (RER)

 Dear Judge Henry:

        Plaintiff Securities and Exchange Commission respectfully writes to request, with the
 consent of pro se Defendant Robin Enos, and counsel for Defendant John DeMarr, an
 adjournment of the August 3, 2021 initial conference scheduled in this matter (D.E. 25).

         On April 5, 2021, Judge Hall issued an order (the “Order”) granting the March 29, 2021
 motion of the United States Attorney’s Office for the Eastern District of New York (D.E. 11) to
 intervene, and for a stay of this proceeding, including all discovery, pending resolution of the
 criminal matters captioned United States v. John DeMarr, 21-CR-153 (LDH) and United States
 v. Kristijan Krstic, 21-CR-98 (LDH) (the “Criminal Proceedings”). In view of the Order, the
 Commission respectfully submits that, pending resolution of the Criminal Proceedings, it is
 premature and impracticable for the parties to confer and attempt to reach agreement on a
 proposed case management schedule, because the timing of the commencement of discovery
 remains uncertain, and the resolution of the Criminal Proceedings will likely have a substantial
 effect on the scope and nature of discovery necessary in this proceeding.

       For the foregoing reasons, the Commission respectfully request that the Court adjourn the
 August 3, 2021 conference to a date after resolution of the Criminal Proceedings that the Court
 deems appropriate.



                                      Respectfully submitted,
                                      /s/Richard G. Primoff
                                      Richard G. Primoff
                                      Senior Trial Counsel


 cc:    Defendant Robin Enos, pro se (by email)
        Thomas Sjoblom, Esq., counsel for Defendant John DeMarr (by email)
